953 F.2d 1383
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Johnnie LLOYD, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    No. 91-2645.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 7, 1991.Decided Feb. 6, 1992.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.   James C. Cacheris, Chief District Judge.  (CA-91-345-A)
      Johnnie Lloyd, appellant pro se.
      Dennis Edward Szybala, Assistant United States Attorney, Alexandria, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before DONALD RUSSELL, WILKINSON and WILKINS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Johnnie Lloyd appeals from the district court's order dismissing with prejudice Lloyd's Federal Tort Claims Act action for illegal arrest and unlawful imprisonment.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Lloyd v. United States, No. CA-91-345-A (E.D.Va. Aug. 8, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    